              Case 2:15-cr-00118-KJM Document 122 Filed 02/08/18 Page 1 of 3



 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     916 2nd Street, 2nd Floor
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     David Dixon
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 15-CR-00118-GEB
                                                     )
12                                                   )       STIPULATION AND
            Plaintiff,                               )       [PROPOSED] ORDER CONTINUING CASE
13                                                   )       AND EXCLUDING TIME
     v.                                              )
14                                                   )
     DAVID DIXON.                                    )       Date: February 16, 2018
15                                                   )       Time: 9:00 am.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
16
            Defendant.                               )
                                                     )
17                                                   )
                                                     )
18

19
            IT IS HEREBY stipulated between the United States of America through its undersigned
20
     counsel, Paul Hemesath, Assistant United States Attorney, attorney for plaintiff and Kyle
21
     Knapp, attorney for defendant David Dixon that the previously-scheduled status conference,
22
     currently set for February 9, 2018, be vacated and that the matter be set for status
23
     conference/potential entry of plea on February 16, 2018 at 9:00 a.m. Counsel for Mr. Dixon
24
     and the government are finalizing a plea agreement. To do so, additional investigation is being
25
     performed that impacts defendant’s potential guideline calculations.
26
            IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
27
     continuance outweigh the best interests of the public and the defendant in a speedy trial and that
28




                                                         1
              Case 2:15-cr-00118-KJM Document 122 Filed 02/08/18 Page 2 of 3



 1   time within which the trial of this case must be commenced under the Speedy Trial Act should
 2   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 3   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, February
 4   7, 2018, up to and including February 16, 2018.
 5   IT IS SO STIPULATED.
 6
     Dated: February 7, 2018                                     McGregor Scott
 7                                                               UNITED STATES ATTORNEY

 8                                                         by:   /s/ Paul Hemesath
                                                                 PAUL HEMESATH
 9
                                                                 Assistant U.S. Attorney
10                                                               Attorney for Plaintiff

11

12
     Dated: February 7, 2018                                     /s/ Kyle R. Knapp
                                                                 KYLE KNAPP
13                                                               Attorney for Defendant
                                                                 DAVID DIXON
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                       2
              Case 2:15-cr-00118-KJM Document 122 Filed 02/08/18 Page 3 of 3



 1
                                                 ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s February 9, 2018 criminal calendar
 4
     and re-calendared for status conference on February 16, 2018.
 5
            Based on the representations of the parties the court finds that the ends of justice served
 6
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 7
     trial. Time is excluded from the time of the filing of this stipulation on February 7, 2018,
 8
     through and including February 16, 2018.
 9

10          IT IS SO ORDERED.

11   Dated: February 8, 2018
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                     3
